          Case:19-60145-EJC Doc#:36 Filed:09/26/19 Entered:09/26/19 09:21:44                                Page:1 of 3
                                        IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE SOUTHERN DISTRICT OF GEORGIA


In the matter of                                                  )
                                                                  )
LINDA F. HILL                                                     )    Chapter 13 Case No. 19-60145-EJC
8391 KENNEDY BRIDGE RD                                            )
REGISTER, GA 30452                                                )
                                                                  )
                                                                  )
                                      Debtor(s)

                                                       MOTION TO DISMISS


COMES NOW, O. Byron Meredith III, Chapter 13 Trustee and shows that the above -named debtor is in default under the terms
of his confirmed Chapter 13 plan in the amount and as of the date shown below.

                             Amount of Default:            $1829.08
                             As of:                        September 26, 2019
                             Date of Last Payment:         September 20, 2019

WHEREFORE, said Trustee moves to dismiss the case for failure to make promised payments of $1577.00 MONTHLY.


                                                                        s/ O. Byron Meredith III
                                                                        O. Byron Meredith III
                                                                        Georgia Bar # 002330
                                                                        P.O. Box 10556
                                                                        Savannah, GA 31412
                                                                        (912) 234-5052



                                                       NOTICE ON MOTION

Pursuant to direction by the court, notice is hereby given that unless the debtor pays the arrearage in full or requests a hearing
in writing showing good cause concerning this motion within twenty-one (21) days of the date shown below, the case shall be
dismissed. COUNSEL IS ADVISED TO COMPLY WITH BANKRUPTCY RULE 9011 IN FILING ANY SUCH REQUEST.

I certify that copies of this motion and notice have been served upon the above -named debtor(s) and the parties listed below.
Unless otherwise noted below, service was made by first -class United States Mail, postage prepaid, this 26 day of September,
2019.


                                                                        s/ O. Byron Meredith III
                                                                        O. Byron Meredith III
                                                                        Georgia Bar # 002330
                                                                        P.O. Box 10556
                                                                        Savannah, GA 31412
                                                                        (912) 234-5052



H. LEHMAN FRANKLIN, P.C.
By Electronic Noticing
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                                                                   O. Byron Meredith III, Chapter 13 Trustee
                                                                                                                                                    PAGE 2

                                                                   STATUS OF CLAIMS AS OF 09/26/2019
                                                                                                                                           Atty: Carri Johnson
19-60145-EJC   LINDA F. HILL
               8391 KENNEDY BRIDGE RD                                                      ATTY: H. LEHMAN FRANKLIN, P.C.
               REGISTER, GA 30452                                                          TRUSTEE 10.0%
                                                                                                  LAST 5 PMTS
FILED       04/02/2019       IC 0.00% AT $1,577.00 / M         MOS 60                      09/20/2019         727.85         PAID IN                                    4,764.33
FIRST MTG   05/14/2019       FIRST TRANSIT INC                                             09/09/2019         606.56         SHORTAGE                   1,829.08
CONFIRMED   06/04/2019                                                                     08/23/2019          95.24         DELQ
MODIFIED                     Bar Date        08/12/2019                                    08/09/2019         172.27         PLAN BASE                                      0.00
MONTHS REMAINING 55          Gov Bar Date    09/30/2019                                    07/05/2019       1,300.00         CLM-TOT                                   42,644.34
                             R/E Equity      1.00
                             R/E Exemption   $1.00
                             PP Equity       $1.00

  CURRENT CLAIM HOLDER                               CLM                  SCHLD      DISB                 Debt          PAID BY      INTEREST                         BALANCE
NUMBER          NAME                                 #       CLS          PYMT       CODE                               TRUSTEE      PAID              CLAIMED
         BULLOCH COUNTY TAX COMMISSIONER                    PRI               0.00   P99                   0.00              0.00            0.00             0.00    NOT PAID

         1ST FRANKLIN FINANCIAL                             UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         ALLIANCEONE RECEIVABLE                             UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         ALLIANCEONE RECEIVABLE                             UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         ALLIANCEONE RECEIVABLE                             UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         ALLIANCEONE RECEIVABLE                             UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         ALLIED INTERSTATE                                  UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         AU HEALTH                                          UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         CREDIT BUREAU ASSOCIATES                           UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         CREDIT COLLECTION                                  UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         EAST GEORGIA REGIONAL MEDICAL CENTER               UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         LABCORP                                            UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         LANIER COLLECTION                                  UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         LANIER COLLECTION                                  UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         MITCHELL D BLUM & ASSOCIATES, LLC                  UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         PRA, LLC                                           UNS               0.00   U99                   0.00              0.00            0.00             0.00    NOT PAID

         GLENVIEW AUTO LOAN                                 SEC               0.00   H99                   0.00              0.00            0.00             0.00    NOT PAID

         ASHLEY FUNDING SERVICES LLC                00001   UNS               0.00   U42                   0.00              0.00            0.00            10.88         0.00

         ASHLEY FUNDING SERVICES LLC                00002   UNS               0.00   U42                   0.00              0.00            0.00         806.00           0.00

         CAPITAL ONE AUTO FINANCE                   00003   SEC               0.00   H99              10,677.36              0.00            0.00       10,677.36     NOT PAID

         1ST FRANKLIN FINANCIAL CORPORATION00004            SEC               0.00   H99               4,442.40              0.00            0.00        4,442.40     NOT PAID

215108   INTERNAL REVENUE SERVICE                   00005   PRI               0.00   P32               4,779.00              0.00            0.00        4,779.00      4,779.00

912359   UNITED APPLIANCE & FURN CO                 00006   SEC               1.00   S06                   1.00              0.00            0.00             1.00         1.00

         DITECH FINANCIAL LLC                       00007   OTH            683.20    J05               2,732.80          2,732.80            0.00             0.00         0.00

215108   INTERNAL REVENUE SERVICE                   01005   UNS               0.00   U42                   0.00              0.00            0.00         929.00           0.00

         DITECH FINANCIAL LLC                       01007   OTH               0.00   B30              26,211.60              0.00            0.00       26,211.60     26,211.60

         CLERK US BANKRUPTCY COURT AUGUSTA
                                        991                 AA                0.00                         0.00              0.00            0.00             0.00    PAID O/S

         CLERK US BANKRUPTCY COURT AUGUSTA
                                        994                 AA                0.00                         0.00              0.00            0.00             0.00         0.00

400270   H. LEHMAN FRANKLIN, P.C.                   999     LP                0.00                     4,500.00              0.00            0.00        4,500.00      4,500.00
         TRUSTEE FEE                                        TRU                                        4,419.94           476.43                         4,419.94      3,943.51

                SECURED             PRIORITY       UNSECURED              ADMIN               ATTY            OTHER            INTEREST                            UNDISBURSED
DEBT             15,120.76           4,779.00          1,745.88          4,419.94          4,500.00         26,211.60
PAID                  0.00               0.00              0.00            476.43              0.00          2,732.80               0.00                                1,555.10

BALANCE               1.00            4,779.00              0.00         3,943.51          4,500.00         26,211.60                      BALANCE                    37,880.01
                                                                                                                                             (THIS IS NOT A PAYOFF BALANCE)
                                                                                                                                                        AT 09/26/2019
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